Captured at: 04/03/2023, 11:06 AM                                                           Case 6:20-cv-00585-ADA Document 272-13 Filed 10/04/23 Page 1 of 1


URL: https://store.google.com/magazine/compare_pixel?hl=en-US&toggler0=Pixel+6+Pro&toggler1=Pixel+6&t

(oJ                     sola            eed
                                                                      Fresh deals are here. Celebrate spring with savings on products you love. Browse offers


  G             Phones         earbuds      Watches        SmartHome            Laptops       Accessories           Subscriptions         Offers                                                                                                           @




                                                                             Which Pixel phone is right for
                                                                                                                            you?




                                Pixel 6 Pro                                           v                 Pixel 6                                              v             Pixel 5a with 5G                                   v




                                                                                                                         Available colors

                                                                                                                                          e                                                         e




                                                                                                                            Dimensions!




                                                                                                          6.2°h                                                                                   6.3"d




                                                                                                                                    w                                                             2.9'w




                                                                                                                             Network?

                            5G*                                                                   5G?                                                                  5G*




                                                                                                                              Display
                            Full-screen 6.7-inch (170 mm)" display                                Full-screen 6.4-inch (163                        display             Full-screen 6.34-inch (161 mm) display with
                                                                                                                                                                       transmissive hole

                            QHD+ (1440 x 3120) LTPO OLED at 512 ppi                               FHD+ (1080 x 2400) OLED at                                           FHD+ (1080 x 2400) OLED at 413 ppi
                                                                                                  411     ppi
                            19.5:9 aspect ratio                                                   20:9 aspect ratio                                                    20:9 aspect ratio

                            Smooth Display (up to 120                                             Smooth Display (up to 90 Hz)*

                            Full 24-bit depth for 16 million colors                               Full 24-bit depth for 16 million colors                              Full 24-bit depth for 16 million colors

                            >1,000,000:1 contrast ratio                                           >1,000,000:1 contrast ratio                                          >100,000:1 contrast ratio

                            HDR support                                                           HDR support                                                          HDR support

                            Corning® Gorilla® Glass                                               Corning® Gorilla® Glass Victus™ cover glass                          Corning® Gorilla® Glass 3 cover glass
                            Victus™ cover glass

                            Always-on display                                                     Always-on display                                                    Always-on display
                            Now Playing                                                           Now Playing                                                          Now Playing

                            Ata Glance                                                            Ata Glance                                                           -




                            High brightness mode                                                  High brightness mode                                                 -




                                                                                                                              Battery

                            Typical 5003 mAh®                                                     Typical 4614 mAh§                                                    Typical 4680 mAh*®
                            Battery can last beyond 24 hours’                                     Battery can last beyond 24 hours’                                    All-day battery’
                            Up to 48 hours with Extreme                                           Up to 48 hours with Extreme                                          Up to 48 hours with Extreme
                            Battery Saver’                                                        Battery Saver’                                                       Battery Saver’
                            Fast charging®                                                        Fast charging                                                        Fast charging®

                            Fast wireless charging®                                               Fast wireless charging

                            Battery Share: Charge other devices                                   Battery Share: Charge other devices
                            wirelessly®                                                           wirelessly®


                                                                                                                              Design
                                                                                                                                                                       Premium metal unibody




                            Fingerprint-resistant coating                                         Fingerprint-resistant coating
                            IP68 water and dust resistance®                                       IP68 water and dust resistance’                                      IP67 water and dust resistance’




                                                                                                                     Memory and storage
                            12 GB LPDDR5 RAM                                                      8 GB LPDDR5S RAM                                                     6 GB LPDDR4x RAM

                            128 GB / 256              512 GB UFS 3.1         storage”                           /
                                                                                                  128 GB 256 GB UFS 3.1                 storage”                       128 GB    storage”


                                                                                                                              Security
                            Titan M2™ security coprocessor                                        Titan M2™ security coprocessor                                       Titan™ M security module

                            Security core                                                         Security core



                            Fingerprint Unlock                                                    Fingerprint Unlock                                                   Pixel Imprint™




                                                                                                                            Processors


                            Google Tensor                                                         Google Tensor                                                        Snapdragon™ 765G
                                                                                                                                                                       2.4 GHz + 2.2 GHz + 1.8 GHz, 64-bit Octa-
                                                                                                                                                                       Core

                                                                                                                                                                       Adreno 620




                                                                                                                            Rear camera


                            50 MP Octa PD Quad Bayer wide camera                                  50 MP Octa PD Quad Bayer wide camera                                 12.2 MP dual-pixel



                            #£/1.85 aperture                                                                    aperture                                               f/1.7 aperture
                            LDAF (laser detect auto focus) sensor                                 LDAF (laser detect auto focus) sensor                                Autofocus with dual pixel phase detection

                            Ols (optical image stabilization) on wide                             ols                                                                  Optical + electronic image stabilization
                            and telephoto                                                         (optical image stabilization)
                            82° field of view                                                     82° field of view                                                    77° field of view

                            1.2 um     pixel width                                                1.2 um        pixel width                                            1.4 um    pixel width


                            12 MP ultrawide camera”                                               12 MP ultrawide camera”                                              16 MP ultrawide®


                            £/2.2 aperture                                                        £/2.2 aperture                                                       f/2.2 aperture
                            114° field of view”                                                   114° field of view?                                                  117° field of view”

                            1.25 um pixel width                                                   1.25 um pixel width                                                  1.0 um    pixel width
                            Lens correction                                                       Lens correction




                            48 MP telephoto camera

                                     aperture
                            23.5° field of view

                            0.8 um pixel width




                                                                                                                           Front camera

                            11.1 MP?


                            £/2.2 aperture                                                        £/2.0 aperture                                                       f/2.0 aperture
                            Fixed focus                                                           Fixed focus                                                          Fixed focus

                            94° ultrawide field of view                                           84° wide field of view                                               83° field of view

                            1.22 um pixel width                                                   1.12 um pixel width                                                  1.12 um pixel width




                                                                                                                         Camera features




                            Night Sight                                                           Night Sight                                                          Night Sight
                            Top Shot                                                              Top Shot                                                             Top Shot
                            Portrait Mode                                                         Portrait Mode                                                        Portrait Mode

                            Super Res Zoom                                                        Super Res Zoom                                                       Super Res Zoom
                            Motion autofocus                                                      Motion autofocus                                                     Motion autofocus

                            Live HDR+                                                             Live HDR+                                                            Live HDR+

                            Frequent Faces                                                        Frequent Faces                                                       Frequent Faces
                            Dual exposure controls                                                Dual exposure controls                                               Dual exposure controls

                            Cinematic Pan                                                         Cinematic Pan                                                        Cinematic Pan

                            Ultrawide Lens                                                        Ultrawide Lens                                                       Ultrawide Lens

                            Portrait Light                                                        Portrait Light                                                       Portrait Light

                            Magic Eraser“                                                         Magic Eraser’
                            Motion Mode                                                           Motion Mode                                                          -




                            Real Tone                                                             Real Tone

                            Face Unblur                                                           Face Unblur


                            Panorama                                                              Panorama

                            Manual white balancing                                                Manual white balancing

                            Locked Folder                                                         Locked Folder




                                                                                                                               Audio

                            Stereo speakers                                                       Stereo speakers                                                      Stereo speakers

                            3 microphones                                                         3 microphones                                                        USB-C™ audio

                            Noise suppression                                                     Noise suppression                                                    3.5mm audio jack

                                                                                                                                                                       Noise suppression




                                                                                                                             Pixel Pass


                          Eligible                                                              Eligible                                                               Not eligible




                                                                                                                         Operating system
                            Launched with Android 12                                              Launched with Android 12                                             Launched with Android 11




          Dimensions and weight vary by       configuration and manufacturing process.
      2
          Contact carrier for details. 5G service is carrier   dependent. Learn more about 5G network compatibil
      3
          Requires a 5G data plan (sold separately). 5G service not available on all carrier networks or in all areas. Contact carrier for details. 5G service, speed and performance depend on many factors including, but not limited
          to, carrier network capabilities, device configuration and capabilities, network traffic, location, signal strength and signal obstruction, Actual results may vary. Some features not available in all areas. Data rates may
          apply. Learn more about 5G network compatibility.
      4
          Not available for all apps or content.    Display automatically adjusts to optimize for best viewing and battery performance.
      5
          Estimate of    typical capacity based upon testing and expected cell behavior.
      ©   Pixel 7 Pro and Pixel 7: Fast wired    charging rates (up to 21W on Pixel 7 and up to 23W on Pixel 7 Pro) are based upon use of the Google 30W USB-C® Charger plugged into a wall outlet. Actual results may be slower.
          ‘Adapters sold separately. Charging speed based upon testing with device batteries drained to 1% and charged with Google 30W USB-C® Charger. Charging testing conducted by Google in mid-2022 on preproduction
          hardware and software using default settings with the device powered on. Charging speed depends upon many factors including usage during charging, battery age, and ambient temperature. Actual charging speed
          may be slower. Wireless charging rates up to 21W (Pixel 7) and up to 23W (Pixel 7 Pro) charging with Google Pixel Stand (2nd gen) (sold separately). Up to 12W with Gi-certified EPP chargers (sold separately). Actual
          results may be slower.


          Pixel 6a: Wired charging rates up to 18W based on use of Google 30W USB-C® or Google 18W USB-C® Charger plugged into a wall outlet. Actual results may be slower. Adapters sold separately. Compatible with USB PD
          3.0 PPS adapters.


          Pixel 5/Pixel 4a     (5g): Up to 12 W with Pixel 5 charging with Qi certified EPP charger (sold separately). Actual results may be slower. Gi-certified.
          Pixel 4a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may vary,


                    /
          Pixel 4 Pixel 4 XL: Up to 10 W with Pixel 4 or Pixel 4 XL charging with Pixel Stand (sold separately). Actual results may vary.


          Pixel 3a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


          Pixel 3 / Pixel 3 XL: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.

          Pixel 2 / Pixel 2 XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


                /
          Pixel Pixel XL: Up to 18W wired       charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.
          Pixel 7 Pro and Pixel 7: For "24-hour": Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during
          testing was approximately 31 hours. Battery testing conducted on a major carrier network. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk,
          data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major carrier network. For both
          claims: Battery testing conducted in California in early 2022 on pre production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery Saver mode was enabled.
          Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.

          Pixel 6a: For “24-hour”: Estimated battery life based on testing using a median Pixel user    battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during testing was
          approximately 29 hours. Battery testing conducted using Sub-6 GHz non-standalone 5G (ENDC) connectivity. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile
          across a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major

          carrier network. For both claims: Battery testing conducted in California in early 2022 on pre-production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery

          Saver mode was enabled, Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.


          Pixel 6 Pro and Pixel 6: For “beyond 24 hours": Estimated battery life based on testing using a mix of talk, data, standby, and use of other features. Average battery life during testing was 34 hours. Battery life depends
          upon many factors and usage of certain features will decrease battery life. Battery testing conducted by a third party in California in mid 2021 on pre-production hardware and software, using default settings. Battery
          testing conducted using two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.

          For “all-day”: Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Testing conducted on two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC)
          connectivity. For “Up to 48 hours /2 days”: Maximum battery life based on testing using a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables
          various features including 5G connectivity). Testing conducted on two major carrier networks. For both claims: Pixel Sa with 5G battery testing conducted by a third party in California in early 2021 on pre-production

          hardware and software using default settings, except that, for the “up to 48 hour/ 2 days claim” only, Extreme Battery Saver mode was enabled. Battery life depends upon many factors and usage of certain features will
          decrease battery life. Actual battery life may be lower.


          Pixel 5 and Pixel 4a (5g): Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Battery life depends upon many factors and usage of certain features will decrease battery
          life, Pixel 4a (5G) and Pixel 5 battery testing conducted by a third party in California in mid 2020 on pre-production hardware and software, using default settings. Testing conducted on two major carrier networks using
          Sub-6 GHz non-standalone 5G (ENDC) connectivity, Actual battery life may be lower.


          Pixel 4a: Approximate battery life based on a mix of talk, data, standby, and use of other features, with always on display off. An active display and other usage factors will decrease battery life. Pixel 4a battery testing
          conducted in Mountain View, California in early 2020 on pre-production hardware and software. Actual results may vary.


          Pixel 4 / Pixel 4 XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with Motion Sense off and always on display off. Use of Motion Sense, an active display or
          data usage will decrease battery life. Pixel 4 and 4 XL testing conducted in Mountain View, California in August 2019 on pre-production hardware and software. Actual results may vary.


          Pixel 3a and Pixel 3a XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with always on display off. An active display or data usage will decrease battery life.
          Actual results may vary.


          Pixel 3 and Pixel 3 XL: Approximate battery life based on a mix of talk, data, standby and use of other features, with always on display off and mobile hotspot off. An active display or data usage will decrease battery life,
          Wired charging: rates are based on use of the included charger. Wireless charging: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


          Pixel 2 and Pixel 2 XL: Approximate battery life based on a mix of talk, data, and standby use with always on display off. Requires use of included            charger. An active display or data usage will decrease battery life. Actual
          results may vary, see website for details.


          Pixel and Pixel XL: Battery use statistics are approximate and represent mixed use of talk, standby, web browsing, and other features, according to an average user profile as defined by Google. Uses that involve an
          active    display or data usage will use battery more quickly, actual results may vary. Charging rates are based on use of the included USB Type-C 18W charger.
      ®
          Designed to charge Gi-certified devices. Use of reverse wireless charging significantly reduces Pixel battery life. Cases may interfere with charging and will reduce charging speed. Charge speeds may vary. Learn more
          about     wireless charging.

          Pixel 7 Pro and Pixel 7: Designed to comply with water protection rating IPX8 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water
          resistance is not a permanent condition,      and diminishes or is lost over time due to normal wear and tear, device repair, disassembly or         damage. Dropping your device may result in loss of water resistance. Liquid damage
          voids the warranty. See g.co/pixel/water.


          Pixel 6a: Designed to comply with water protection rating IPX7 under IEC standard 60529 when each device leaves the    factory but device is not waterproof. The accessories are not water resistant. Water resistance is
          not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair, disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage voids the

          warranty. See g.co/pixeliwater.

          Pixel 5a with 5G has a water protection rating of IPX7 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
          wear and tear, repair,    disassembly or damage.

          Pixel 5: Pixel 5 has a water protection rating of IPX8 under IEC standard 60529.            Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
          wear and tear, repair,    disassembly or damage.

          Pixel 4 and Pixel 4 XL have a water protection rating of IPX8 under IEC standard 60529.             Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to
          normal wear and tear, repair, disassembly or damage.


          Pixel 3 and Pixel 3 XL have a water protection rating of IPX8 under IEC standard 60529. Charger and accessories are not water resistant.


          Pixel 2 and Pixel 2 XL has a water protection rating of IP67 under IEC standard 60529.            Charger and accessories are not water resistant.

           Storage specifications refer to capacity before formatting, Actual formatted capacity will be less.
      ™   Pixel 5, Pixel 4a (5G), Pixel 4a, Pixel 4 and Pixel 4 XL:   Google Photos offers unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or
          resized, Requires Google Account and internet connection. Data rates may apply. Learn more about
                                                                                                                           uploadingphotos     and videos.


          Pixel 3a and Pixel 3a XL: Google Photos offers free unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or resized. Requires Google
          Account. Data rates may apply. Learn more about              uploading photos and videos.

          Pixel 3 and Pixel 3 XL: Free unlimited online original-quality storage for all photos and videos uploaded to Google Photos from Pixel 3 through 1/31/2022. Photos and videos uploaded before 1/31/2022 will remain free at
          original-quality. Requires Google Account. Data rates may apply. Learn more about               uploadingphotos   and videos.


          Pixel 2 and Pixel 2 XL: Free, unlimited    original-quality storage for photos and videos taken with Pixel through the end of 2020, and free, unlimited high-quality storage for photos taken with Pixel afterwards,

          Pixel and Pixel XL: Unlimited original quality storage of photos/videos taken with your Pixel, high quality for all other photosivideos. Requires Google Account. Data rates may apply.

      ® Maximum resolution and field of view with RAW
                                                                image files setting turned on. Setting is turned off by default. See g.c        pixel/photoediting for more information
          Measured       diagonally; dimension may vary by configuration and manufacturing process.
      ™
          Magic Eraser may not work on all image elements.
          HDR brightness measured at 100% on-pixel ratio. Peak Brightness measured at 5% on-pixel ratio.

          Coming soon. Restrictions apply. Some data is not transmitted through VPN. Not available in all countries. All other Google One membership benefits sold separately. Pixel VPN offering does not impact price or benefits
          of Google One Premium plan. Use of VPN may increase data costs depending on your plan. See g.co/pixelvpn for details.

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                                                                                                                                                                                                                               PTX-452-0001
                                                                                                                                                                        Country availability              Financing

                                                                                                                                                                       Repairs                            Device recycling


                                                                                                                                                                       Installation                       Sustainability

                                                                                                                                                                        Ideas & Info                      Gift returns


                                                                                                                                                                                                          Refurbished


                                                                                                                                                                                                          Trade-in


                                                                                                                                                                                                          Pixel for Business


                                                                                                                                                                                                          Locations
                                                                                                                                                                                                                                                  PLAINTIFF'S
                                                                                                                                                                                                                                                    EXHIBIT

                                                                                                                                                                                                                                                PTX-452
                                                                                                                                                                                                                                                6:20-cv-572/580/584/585




                        younoaod                                                                      =
                                                                                                          Unitedstates        Privacy         «Google Nest            toPrivacy «Sales Terms
                                                                                                                                                             Commitment                                         of
                                                                                                                                                                                                               Service
                                                                                                                                                                                                          -—=«Terms               ~—=—Careers


                                                                                                                                                                                                                                  BRAZOS-GOOALL-0012555
